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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

Shanice Kloss
                                 Plaintiff,
v.                                                   Case No.: 1:18−cv−07986
                                                     Honorable John Robert Blakey
MH SUB I, LLC, et al.
                                 Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, September 9, 2019:


        MINUTE entry before the Honorable John Robert Blakey: Based upon the filing
of the stipulation of dismissal [46], this case is dismissed with prejudice as to the claims
of Plaintiff, and without prejudice as to the claims of the members of the putative class,
with each party to bear its own costs. All pending deadlines and hearings are stricken. Any
pending motions are denied as moot. Civil case terminated. Mailed notice(gel, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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